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                                        1
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                                             Nevada Bar No. 9401
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                                        6    Suite 700
                                             Las Vegas, Nevada 89135
                                        7    Telephone: (702) 262-6899
                                             Facsímile: (702) 597-5503
                                        8
                                             Attorneys for Defendant Western Best LLC
                                        9    d/b/a The Chicken Ranch
                                                                           UNITED STATES DISTRICT COURT
                                       10
                                                                                   DISTRICT OF NEVADA
                                       11
1980 Festival Plaza Drive, Suite 700




                                       12    KIZZY BYARS, DANIELLE JAMES, as                     Case No. 2:19-cv-01690-JCM-DJA
    Las Vegas, Nevada 89135




                                             Individuals and On Behalf of Others Similarly
      FOX ROTHSCHILD LLP




                                       13    Situated,
                                       14                           Plaintiffs,
                                                            v.
                                       15                                                         AMENDED STIPULATION AND ORDER
                                             WESTERN BEST LLC, a Nevada Limited                   TO DISMISS PLAINTIFF KIZZY BYARS
                                       16    Liability Company doing business as THE                      WITH PREJUDICE
                                             CHICKEN RANCH; DOES I through X,
                                       17    inclusive, and ROE CORPORATIONS I
                                             through X, inclusive,
                                       18
                                                                    Defendant.
                                       19

                                       20           Plaintiff, Kizzy Byars, by and through her attorney of record, and Defendant, Western Best,
                                       21   LLC, by and through his attorneys of record, hereby stipulate and agree that Plaintiff Kizzy Byars
                                       22   be dismissed with prejudice from the above-entitled action, with each party to bear their own
                                       23   attorney fees and costs. This Stipulation and Order to Dismiss in no way affects or otherwise
                                       24   impacts Plaintiff’s Danielle James’ ability to pursue her claims against the Defendant in this action.
                                       25   ///
                                       26   ///
                                       27   ///
                                       28
                                                                                          Page 1 of 3
                                            138539981.1
                                            Case 2:19-cv-01690-JCM-DJA Document 78 Filed 09/30/22 Page 2 of 5



                                        1
                                              DATED this 30th day of September, 2022.           DATED this 30th day of September, 2022.
                                        2

                                        3     FOX ROTHSCHILD LLP                                RYAN ALEXANDER, CHTD.

                                        4
                                              By: /s/ Deanna L. Forbush                         By: /s/ Ryan Alexander
                                        5         DEANNA L. FORBUSH (6646)                         RYAN ALEXANDER (10845)
                                                  REX GARNER (9401)                                3017 West Charleston Blvd., Ste. 10
                                        6
                                                  One Summerlin                                    Las Vegas, Nevada 89102
                                        7         1980 Festival Plaza Drive, Suite 700             Attorneys for Plaintiff Kizzy Byars
                                                  Las Vegas, Nevada 89135
                                        8        Attorneys for Defendant Western Best LLC
                                        9

                                       10
                                                                                      ORDER
                                       11
                                                    IT IS SO ORDERED.
1980 Festival Plaza Drive, Suite 700




                                       12
    Las Vegas, Nevada 89135
      FOX ROTHSCHILD LLP




                                       13           Dated this ______ day of September, 2022.

                                       14
                                                                                                _________________________________
                                       15                                                       DISTRICT COURT JUDGE

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                                        1                                   CERTIFICATE OF SERVICE
                                        2           I hereby certify that I am an employee of Fox Rothschild LLP and that on the 30th day of
                                        3   September, 2022, pursuant to Rule 5(b) of the Federal Rules of Civil Procedure, I served a true
                                        4   and correct copy of the foregoing AMENDED STIPULATION AND ORDER TO DISMISS
                                        5   PLAINTIFF KIZZY BYARS WITH PREJUDICE via electronic transmission as follows:
                                        6
                                                    Ryan Alexander, Esq.
                                        7           RYAN ALEXANDER, CHTD.
                                                    3017 W. Charleston Boulevard, Suite 10
                                        8           Las Vegas, Nevada 89102
                                                    ryan@ryanalexander.us
                                        9           Attorneys for Plaintiffs
                                       10           Jason D. Guinasso, Esq.
                                                    Astrid A. Perez, Esq.
                                       11           HUTCHISON & STEFFEN, PLLC
                                                    5371 Kietzke Lane
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                                       12           Reno, NV 89511
    Las Vegas, Nevada 89135
      FOX ROTHSCHILD LLP




                                                    jguinasso@hutchlegal.com
                                       13           aperez@hutchlegal.com
                                       14

                                       15
                                                                                        /s/ Sherry Harper
                                       16                                               An employee of Fox Rothschild LLP
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              Case 2:19-cv-01690-JCM-DJA Document 78 Filed 09/30/22 Page 4 of 5


Harper, Sherry




From: Ryan Alexander <ryan@ryanalexander.us>
Sent: September 30, 2022 9:05 AM
To: Forbush, Deanna L. <DForbush@foxrothschild.com>
Cc: Jennifer Lee <jennifer@ryanalexander.us>
Subject: [EXT] Re: Byars v. Western Best

Hi Deanna, yes you may e‐sign for me.

Ryan

From: Forbush, Deanna L. <DForbush@foxrothschild.com>
Sent: Friday, September 30, 2022 9:03 AM
To: Ryan Alexander <ryan@ryanalexander.us>
Subject: Byars v. Western Best




Good Morning Ryan:

Hope this finds you well. We neglected to get Kizzy dismissed from the Western Best
action. May I have your permission to affix your electronic signature to the attached?

Best regards,

                                                        1
               Case 2:19-cv-01690-JCM-DJA Document 78 Filed 09/30/22 Page 5 of 5

~D

Deanna Forbush
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to this email and delete the original and reply emails. Thank you.




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